          2:16-cv-02222-EIL # 106             Page 1 of 20                             E-FILED
                                                             Friday, 18 May, 2018 03:51:00 PM
                                                                 Clerk, U.S. District Court, ILCD

        Members of the jury, you have seen and heard all the evidence and
will hear the arguments of the attorneys. Now I will instruct you on the law.

        You have two duties as a jury. Your first duty is to decide the facts
from the evidence in the case. This is your job, and yours alone.
        Your second duty is to apply the law that I give you to the facts. You
must follow these instructions, even if you disagree with them. Each of the
instructions is important, and you must follow all of them.
        Perform these duties fairly and impartially. Do not allow prejudice to
influence you.
        Nothing I say now, and nothing I said or did during the trial, is meant
to indicate any opinion on my part about what the facts are or about what
your verdict should be.

Proposed Court's 1
Joint 1
7th Cir. Pattern 1.01: Functions of the Court and the jury




Withdrawn_ Given+ Given as Modified_ Refused_ Reserved_                       Page 1
          2:16-cv-02222-EIL # 106   Page 2 of 20




        The evidence consists of the testimony of the witnesses, the exhibits
admitted in evidence, and stipulations.
        A stipulation is an agreement between both sides that certain facts are
true or that a person would have given certain testimony.

Proposed Court's 3
Joint 1
7th Cir. Pattern 1.04: Evidence




Withdrawn_ Given~ Given as Modified_ Refused_ Reserved_                   Page 3
          2:16-cv-02222-EIL # 106            Page 3 of 20




        You      may       have      heard      the     phrases       "direct   evidence"    and
"circumstantial evidence." Direct evidence is proof that does not require an
inference, such as the testimony of someone who claims to have personal
knowledge of a fact. Circumstantial evidence is proof of a fact, or a series of
facts, that tends to show that some other fact is true.
        As an example, direct evidence that it is raining is testimony from a
witness who says, "I was outside a minute ago and I saw it raining."
Circumstantial evidence that it is raining is the observation of someone
entering a room carrying a wet umbrella.
        The law makes no distinction between the weight to be given to either
direct or circumstantial evidence. You should decide how much weight to
give to any evidence. In reaching your verdict, you should consider all the
evidence in the case, including the circumstantial evidence.

Proposed Court's 5
Joint 1
7th Cir. Pattern 1.12: Definition of "Direct" and "Circumstantial" Evidence




Withdrawn_ Given X Given as Modified_ Refused_ Reserved_                                    Page 5
          2:16-cv-02222-EIL # 106           Page 4 of 20




        You must decide whether the testimony of each of the witnesses is
truthful and accurate, in part, in whole, or not at all. You also must decide
what weight, if any, you give to the testimony of each witness.
        In evaluating the testimony of any witness, including any party to the
case, you may consider, among other things:
        -the ability and opportunity the witness had to see, hear, or know the
        things that the witness testified about;
        -the witness's memory;
        -any interest, bias, or prejudice the witness may have;
        -the witness's intelligence;
        -the manner of the witness while testifying;
        -and the reasonableness of the witness's testimony in light of all the
        evidence in the case.


Proposed Court's 7
Joint 1
7th Cir. Pattern 1.13: Testimony of Witnesses (Deciding what to believe)




Withdrawn_ Given ":j,,._ Given as Modified_ Refused_ Reserved_             Page 7
          2:16-cv-02222-EIL # 106             Page 5 of 20




        During the trial, certain testimony was presented to you by the reading
of depositions and video. You should give this testimony the same
consideration you would give it had the witnesses appeared and testified
here in court.



Proposed Court's 9
Joint 1
7th Cir. Pattern 1.05: Deposition Testimony




Withdrawn_ Given .::f,._ Given as Modified_ Refused_ Reserved_           Page 9
          2:16-cv-02222-EIL # 106             Page 6 of 20




        Certain things are not to be considered as evidence. I will list them for
you:
        First, if I told you to disregard any testimony or exhibits or struck any
testimony or exhibits from the record, such testimony or exhibits are not
evidence and must not be considered.
        Second, anything that you may have seen or heard outside the
courtroom is not evidence and must be entirely disregarded. This includes
any press, radio, Internet or television reports you may have seen or heard.
Such reports are not evidence and your verdict must not be influenced in
any way by such publicity.
        Third, questions and objections or comments by the lawyers are not
evidence. Lawyers have a duty to object when they believe a question is
improper. You should not be influenced by any objection, and you should
not infer from my rulings that I have any view as to how you should decide
the case.
        Fourth, the lawyers' opening statements and closing arguments to you
are not evidence. Their purpose is to discuss the issues and the evidence. If
the evidence as you remember it differs from what the lawyers said, your
memory is what counts.

Proposed Court's 11
Joint 1
7th Cir. Pattern 1.06: What is not Evidence




Withdrawn_ Given :X- Given as Modified_ Refused_ Reserved_                Page 11
          2:16-cv-02222-EIL # 106            Page 7 of 20




        You may find the testimony of one witness or a few witnesses more
persuasive than the testimony of a larger number. You need not accept the
testimony of the larger number of witnesses.

Proposed Court's 13
Joint 1
7th Cir. Pattern Jury Instructions 1.17: Number of Witnesses




Withdrawn_ Given:)(_ Given as Modified_ Refused_ Reserved_         Page 13
          2:16-cv-02222-EIL # 106           Page 8 of 20



         It is proper for a lawyer to meet with any witness in preparation for
trial.

Proposed Court's 15
Joint 1
7th Cir. Pattern 1.16: Lawyer Interviewing Witness




Withdrawn .::t, Given--'- Given as Modified_ Refused       Reserved     Page 15
           2:16-cv-02222-EIL # 106              Page 9 of 20




        In this case, Rent-A-Center is a corporation. All parties are equal
before the law. A corporation is entitled to the sam fair consideration that
you would give any individual person.


Proposed Court's 17
Joint 1
7th Cir. Pattern 1.03: All litigants equal before the law




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Withdrawn_ Given_ Given as Modified -X,.. Refused_ Reserved_                                      Page 17
         2:16-cv-02222-EIL # 106          Page 10 of 20




       I have a duty to caution or warn an attorney who does something that
I believe is not in keeping with the rules of evidence or procedure. You are
not to draw any inference against the side whom I may caution or warn
during the trial.


Proposed Court's 19
7th Cir. Pattern 2.14: Judge's Comments to Lawyer




Withdrawn ::t,_ Given_ Given as Modified_ Refused_ Reserved_          Page 19
          2:16-cv-02222-EIL # 106           Page 11 of 20




        Rent-A-Center contends that EEOC at one time possessed an
attachment to Ms. Kerr's EEOC Intake Form. However, the EEOC contends
that, while the evidence is now lost, the loss of evidence was accidental. You
may assume that such evidence would have been unfavorable to the EEOC
only if you find by a preponderance of the evidence that: (1) The EEOC
intentionally destroyed the evidence; and (2) The EEOC destroyed the
evidence in bad faith.




Proposed Court's 21
Defendant's 1
7th Cir. Pattern 1.20 (modified): Spoliation/Destruction of Evidence




Withdrawn")!:,_ Given_ Given as Modified_ Refused_ Reserved_           Page 21
          2:16-cv-02222-EIL # 106         Page 12 of 20




         I have decided to accept as proved the fact that the EEOC' s
investigative file and notes are governmental records, and accordingly are
admissible evidence. You may now treat this fact as having been proved for
the purpose of this case.


Proposed Court's 23
Joint 3
7 th Cir. Pattern 2.06: Judicial Notice




Withdrawn      p,- Given_ Given as Modified_ Refused_ Reserved_     Page 23
          2:16-cv-02222-EIL # 106           Page 13 of 20



        The EEOC claims that Ms. Kerr was terminated by Rent-A-Center
because of her transgender status. To succeed on this claim, the EEOC must
prove by a preponderance of the evidence that Ms. Kerr was terminated by
Rent-A-Center because of her transgender status. To determine that Ms. Kerr
was terminated because of her transgender status, you must decide that
Rent-A-Center would not have terminated Ms. Kerr had she not been
transgender but everything else had been the same.

        If you find that the EEOC has proved this by a preponderance of the
evidence, then you must find for the EEOC. However, if you find that the
EEOC did not prove this by a preponderance of the evidence, then you must
find for Rent-A-Center.




Proposed Court's 24
Defendant's 6: Defendant's preferred Motive Instruction (to replace Joint 7)
7"' Cir. Pattern 3.01: General Employment Discrimination Instructions
Proposed as d / e #103-1




Withdrawn_ Given_ Given as Modified_ Refused~ Reserved_                        Page 25
         2:16-cv-02222-EIL # 106            Page 14 of 20



        If you find that the EEOC has proved its claim against Rent-A-Center,
the Court will calculate and determine damages for past or future lost
wages and benefits, if any.

        If you find that the EEOC has proved its claim against Rent-A-
Center, then you must determine what amount of compensatory and/or
punitive damages, if any, the EEOC is entitled to recover. The EEOC must
prove its damages by a preponderance of the evidence.

        If you find that the EEOC has failed to prove its claim, then you will
not consider the question of damages.

Proposed Court's 25
Defendant's #3
7th Cir. Pattern 3.09 (modified): Damages: General




Withdrawn_ Given_ Given as Modified_ Refused):(._ Reserved_            Page 27
       2:16-cv-02222-EIL # 106   Page 15 of 20



     You may award compensatory damages only for injuries that the
EEOC has proved by a preponderance of the evidence were caused by Rent-
A-Center' s wrongful conduct.

     Your award must be based on evidence and not speculation or
guesswork. This does not mean, however, that compensatory damages are
restricted to the actual loss of money; they include both the physical and
mental aspects of injury, even if they are not easy to measure.

     In calculating damages, you should not consider the issue of lost
wages and benefits. The court will calculate and determine any damages for
past or future lost wages and benefits.

     You should only consider the following types of compensatory
damages, and no others:

     The physical and mental or emotional pain and suffering that Ms. Kerr
has experienced. No evidence of the dollar value of physical or
mental/ emotional pain and suffering has been or needs to be introduced.
There is no exact standard for setting the damages to be awarded on account
of pain and suffering. You are to determine an amount that will fairly
compensate Ms. Kerr for the injury she has sustained.

      If you find that Ms. Kerr engaged in misconduct for which Rent-A-
Center would have legitimately discharged her solely on that basis, then
do not include any damages suffered past the date that Rent-A-Center
discovered that Ms. Kerr engaged in that conduct.


Withdrawn_ Given_ Given as Modified_ Refused _,X. Reserved_         Page 29
       2:16-cv-02222-EIL # 106   Page 16 of 20



      If you find for the EEOC, you may, but are not required to, assess
punitive damages against Rent-A-Center.          The purposes of punitive
damages are to punish a defendant for his conduct and to serve as an
example or warning to Rent-A-Center and others not to engage in similar
conduct in the future.

      The EEOC must prove by a preponderance of the evidence that
punitive damages should be assessed against Rent-A-Center. You may
assess punitive damages only if you find the conduct of Rent-A-Center's
managers was in reckless disregard of Ms. Kerr's rights. An action is in
reckless disregard of Ms. Kerr's rights if taken with knowledge that it may
violate the law.

      The EEOC must prove by a preponderance of the evidence that Rent-
A-Center' s managerial employees acted within the scope of their
employment and in reckless disregard of Ms. Kerr's right not to be
discriminated against. You should not, however, award the EEOC punitive
damages if Rent-A-Center proves that it made a good faith effort to
implement an anti-discrimination policy.

      If you find that punitive damages are appropriate, then you must use
sound reason in setting the amount of those damages. Punitive damages, if
any, should be in an amount sufficient to fulfill the purposes that I have
described to you, but should not reflect bias, prejudice, or sympathy toward
either/ any party. In determining the amount of any punitive damages, you
should consider the following factors:

Withdrawn_ Given   )L Given as Modified_ Refused_ Reserved_          Page 31
          2:16-cv-02222-EIL # 106              Page 17 of 20



Defendant argues that Plaintiff's claim for lost wages and benefits should be
reduced due to Ms. Kerr's failure to mitigate her damages.


If you find that


1. Ms. Kerr did not take reasonable actions to reduce her damages, and


2. that Ms. Kerr reasonably might have found comparable employment if she
had taken such action,


the Court shall reduce any damages for past or future lost wages and
benefits, if any.

Proposed Court's 28
Defendant's #5
7th Cir. Pattern 3.12 (modified): Mitigation




Withdrawn J(_ Given_ Given as Modified_ Refused_ Reserved_            Page 33
         2:16-cv-02222-EIL # 106          Page 18 of 20




       I do not anticipate that you will need to communicate with me. If you
do need to communicate with me, the only proper way is in writing. The
writing must be signed by the presiding juror, or, if he or she is unwilling
to do so, by some other juror. The writing should be given to the marshal,
who will give it to me. I will respond either in writing or by having you
return to the courtroom so that I can respond orally.


       If you do communicate with me, you should not indicate in your note
what your numerical division is, if any.


Proposed Court's 30
Jointl
7th Cir. Pattern 1.33: Communications with Court




Withdrawn_ Given ){l. Given as Modified_ Refused_ Reserved_            Page 35
          2:16-cv-02222-EIL # 106            Page 19 of 20




        You are about to watch a recording of a video deposition that has been
received in evidence.              This recording is proper evidence and you may
consider it, just as any other evidence.



        You may be given a transcript to use as a guide to help you follow as
you watch to the recording. The transcript is not evidence of what was
actually said or who said it. It is up to you to decide whether the transcript
correctly reflects what was said and who said it. If you notice any difference
between what you heard on the recording and what you read in the
transcript, you must rely on what you heard, not what you read. And if after
careful listening, you cannot hear or understand certain parts of the
recording, you must ignore the transcript as far as those parts are concerned.


Proposed Court's 32
Joint 4
7th Cir. Pattern 2.07 (modified): Transcript of Recording




Withdrawn_ Given_·_ Given as Modified_ Refused -11;. Reserved_            Page 37
         2:16-cv-02222-EIL # 106          Page 20 of 20



       Evidence will now be presented to you in the form of written answers
of one of the parties to written interrogatories submitted by the other side.
These answers were given in writing and under oath before this trial in
response to written questions.


       You must give the answers the same consideration as if the answers
were made from the witness stand.


Proposed Court's 34
Joint 6
7th Cir. Pattern 2.09: Use of Interrogatories (to be used only when interrogatories are read without
admission into evidence)




Withdrawn_ Given_ Given as Modified_ Refused 2c_ Reserved_                                 Page 39
